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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                  4:09CR3069-2
                                           )
              V.                           )
                                           )                 MEMORANDUM
KELVIN L. STINSON,                         )                  AND ORDER
                                           )
                     Defendant.            )
                                           )


       I am in receipt of the government’s objection to tentative findings (filing 119).
Subsequent to the issuance of tentative findings, I have revised my approach to variances in
the crack cocaine context. On May 25, 2010, I issued a memorandum to the United States
Probation Office. With the foregoing in mind,

       IT IS ORDERED that:

       (1)    The memorandum referred to above is attached hereto and shall be provided
              to counsel.

       (2)    The court intends to follow the approach outlined in the memorandum subject,
              of course, to hearing the views of counsel at sentencing.

       (3)    The tentative findings (filing 117) are accordingly amended to conform to the
              attached memorandum.

       DATED this 28th day of May, 2010.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          United States District Judge
